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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

JOHN MICHAEL LEBLANC,

             Plaintiff,

       v.
                                                          Case No. 2:13-cv-02001
BANK OF AMERICA, N.A.; and BAC HOME
LOANS SERVICING, LP fka COUNTRYWIDE
HOME LOANS SERVICING, LP, CORP.;
RUBIN LUBLIN TN, PLLC

               Defendants.

            STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41 of the Federal Rules of Civil Procedure, all parties who have

appeared in this case and who were not previously dismissed from the case stipulate to a

voluntary dismissal with prejudice of the above-captioned matter.

This is the 15th day of July 2014.

                                            Respectfully submitted,
                                            /s/ J. Matthew Kroplin
                                            J. Matthew Kroplin (BPR No. 27363)
                                            STITES & HARBISON, PLLC
                                            401 Commerce Street, Suite 800
                                            Nashville, TN 37219
                                            (615) 782-2286 (phone)
                                            (615) 742-0711 (fax)
                                            matthew.kroplin@stites.com
                                            Attorney for Defendant Bank of America, N.A.

                                            And

                                            /s/ Webb A. Brewer (with permission)
                                            Webb A. Brewer
                                            1755 Kirby Parkway, Suite 110
                                            Memphis, Tennessee 38103
                                            Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of July, 2014, a true and exact copy of the foregoing
Stipulation of Dismissal has been filed with the Clerk of the Court using the CM/ECF system
and served electronically upon:

                                      Webb A. Brewer
                                      1755 Kirby Parkway, Suite 110
                                      Memphis, Tennessee 38103
                                      Attorney for Plaintiff



                                             /s/ J. Matthew Kroplin
                                             J. Matthew Kroplin


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